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The RAP Team, as listed below has created the Corrective Action Plan and will assure that all responsible parties
complete the tasks and activities and provide evidence of correction.

Name                                                            Position                                          Date
Rikki Saunders                                                  Director of Special Education                     2/3/2020
Janine VanStee                                                  Coordinator of Special Education                  2/3/2020
Johnny Edwards                                                  Director of Secondary Education                   2/3/2020
Kevin Seale                                                     School Psychologist                               2/3/2020
Tamica Frison                                                   Principal - ALP                                   2/3/2020
Nkenge Bergan                                                   Director of Student Services                      2/3/2020



Required Compliance and Sanctions
Each activity in the Corrective Action Plan (CAP) is subject to and must be carried out in compliance with the
procedural requirements of the IDEA and corresponding implementing federal regulations and state rules . In no event
may the district leave its obligations toward these findings of noncompliance unresolved.

This CAP will remain open pending OSE and/or OGS/ECD&FE verification that the noncompliance has been
corrected within the required timeline. The district is advised that the OSE and/or OGS/ECD&FE will maintain
jurisdiction over the findings of noncompliance until the CAP is officially closed . Failure to correct the areas of
noncompliance will result in enforcement actions by the State.



MDE CAP Clarification/Approval Comments                                 District CAP Clarification
This CAP is approved. Please complete and submit
Progress Report by 11-15-20. This submission must
include all revised or newly developed procedures.
Christie Mckey | 08/03/2020 10:40 AM


MDE Verification/Closeout Comments                                      ISD Verification Clarification
Please upload the following and resubmit to MDE:                        3327760086                             C01 Male White
1. Student record for                 as evidence of                    C10 Kalamazoo Indian Prairie Elementary School Indian
correction                                                              Prairie Elementary School 1/4/2021 12/4/2020 2/10/2021
2. Evidence of assurance general education staff                        C11 C1
understand their roles and responsibilities of the district's           Victoria Wentela | 03/03/2021 12:53 PM
child find obligation.
Christie Mckey | 03/02/2021 11:07 AM


Training or an email outlining the roles and responsibilities
of general education staff regarding the district’s child find
obligation is required to verify and close this CAP. This
training or communication to general education staff must
outline when to suspect or request an evaluation as well
as factors or signs that may prompt a special education
referral. Please upload evidence and resubmit to MDE.
Christie Mckey | 03/09/2021 03:52 PM




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Case Number: 19-0213

Complaint Findings:

The district is not in compliance with the IDEA and/or the MARSE regarding child find including:
 · • The District did not take an affirmative action to fulfil the child find obligation .




1. Based on your RAP Team activities, what are the underlying problems that caused the noncompliance? How may
district policies, procedures and practices, or the lack of supports, have contributed to these results?

 The district was found to not assess students with Tier 2-3 concerns for special education eligibility at the Alternative
Learning Program. The district implemented go Tier 2-3 intervention for high risk general education students and the
teams did not consider eligibility for some students being referred to the program or student that were currently being
services by the program. The district has decided to discontinue the program and interventions for middle school
students will occur within district building who need Tier 2-3 supports.

2. Required Corrective Action:

The district must revise or develop procedures regarding child find, as needed, by 11/15/2020 to document and
ensure that:
  · • The District takes affirmative action in its child find obligation by addressing the following :

      · • The District's responsibility to initiate a special education evaluation, for a student who is suspected of being a
student with a disability and in need of special education, even when a parent has not made a request.
      · • Identification of factors or signs which may prompt District staff to consider a special education referral .
      · • Assurance general education staff are informed of their role and responsibility in implementing the District's
child find obligation.




The district must provide professional development by 11/15/2020 for all relevant staff regarding the new procedures.
Evidence of change in the district's practices must be provided and verified by the OSE.

3. Activity steps, dates they will occur, and name/title of person responsible:

        Activity Steps                                       Date/Deadline(s)          Name/Title of Person Responsible
1       The district has updated all Child Find              2/14/2020                 Rikki Saunders, Director of Special
        procedures.                                                                    Education

2       The district conducted professional                  3/20/2020                 Rikki Saunders, Director of Special
        development on the updated Child Find                                          Education
        procedures for all middle school
        administrators, Child Study teams, all
        district principals, senior leadership, and
        special education ancillary staff member. All
        staff PD was schedule for April 2020 but
        due to COVID-19 and school closures, that
        PD is postponed.


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4. What documentation will your district have available as evidence that your tasks and activities were completed
(e.g., meeting notes, agendas, new procedures)?

The document will be agendas, sign-in sheets, presentations and the new procedures.

5. How will the district monitor data on a monthly basis to determine that the tasks and activities listed in #3 have
corrected the noncompliance (e.g., monthly data pulls, monthly record reviews)?

The district will conduct monthly reviews of Child Study Team progress meetings with ancillary staff and Tier 2 -3
district coaches. The review will consist of record reviews as well as intervention plans for students who have been
identified by the team.

If an assurance statement is required, please upload it here:



MDE Findings Comments                                               District Findings Clarification




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                                                                                            MDE_007896
